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                   8
                   9                              UNITED STATES DISTRICT COURT
              10                                CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 14-cv-03650-FMO
              12
                                            Plaintiff,            Consolidated with Case No. 15-cv-02628-
              13                                                  FMO
                                 v.
              14                                                  Assigned To: Hon. Fernando M. Olguin
                        VIKTOR KHRAPUNOV, et al.,
              15                                                  ORDER GRANTING JOINT
                                            Defendants.           STIPULATION [175] RE: EXTENSION
              16                                                  OF TIME TO FILE MOTION FOR
                                                                  DEFAULT JUDGMENT
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                                                                  Action Filed: April 15, 2015
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                       US-DOCS\96336417.1                               PROPOSED ORDER GRANTING JOINT STIPULATION RE:
ATTORNEYS AT LAW
  LOS ANGELES
                                                                         EXTENSION OF TIME TO FILE MOTION FOR DEFAULT
                                                                                                            JUDGMENT
      Case 2:14-cv-03650-FMO-CW Document 178 Filed 11/15/17 Page 2 of 2 Page ID #:7116


                   1                                            ORDER
                   2            Plaintiff the City of Almaty (“Plaintiff”) and defendants Madina Ablyazova,
                   3 Iliyas Khrapunov, Leila Khrapunov, Viktor Khrapunov, Elvira Khrapunov a/k/a
                   4 Elvira Kudryashova; Dmitry Kudryashov; RPM USA, LLC; RPM-Maro LLC;
                   5 Maro Design LLC; Haute Hue LLC; 628 Holdings LLC; Candian International
                   6 Ltd.; Elvira Kudryashova as Trustee of The Kasan Family Trust; and Dmitry
                   7 Kudryashov as Trustee of The Kasan Family Trust (collectively, “Appearing
                   8 Defendants”), by and through their respective counsel of record, have entered into
                   9 a stipulation to extend the deadline by which to file a motion for default judgment
              10 for Crownway Ltd. (“Crownway”) and Vilder Company S.A. (“Vilder”).
              11                The Court, having reviewed the Joint Stipulation re: Extension of Time to
              12 File Motion for Default Judgment, and good cause appearing therefrom, IT IS
              13 HEREBY ORDERED, that the deadline to file Plaintiff’s motion for default
              14 judgment shall be extended from November 17, 2017 to November 27, 2017.
              15                IT IS SO ORDERED.
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              18 DATED:                     November 15, 2017
              19                                                              /s/
                                                                     Honorable Fernando M. Olguin
              20                                                     U.S. District Judge
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                       US-DOCS\96336417.1                                PROPOSED ORDER GRANTING JOINT STIPULATION RE:
ATTORNEYS AT LAW
  LOS ANGELES
                                                                          EXTENSION OF TIME TO FILE MOTION FOR DEFAULT
                                                                                                             JUDGMENT
